Case 6:24-cv-06191-FPG Documenti Filed 03/29/24 Page1of20
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Revised 03/06 WDNY UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
FORM TO BE USED IN FILING A COMPLAINT
UNDER THE CIVIL RIGHTS ACT, 42 U.S.C. § 1983
(Prisoner Complaint Form)

All material filed in this Court is now available via the INTERNET. See Pro Se Privacy Notice for further information.

1. CAPTION OF ACTION

A. Full Name And Prisoner Number of Plaintiff: NOTE: Jf more than one plaintiff files this action and seeks in forma

pauperis status, each plaintiff must submit an in forma pauperis application and a signed Authorization or the only plaintiff to be
considered will be the plaintiff who filed an application and Authorization.

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B. Full Name(s) of Defendant(s) NOTE: Pursuant to Fed.R.Civ.P. 10(a), the names of all parties must appear in the caption.

The court may not consider a claim against anyone not identified in this section as a defendant. Ifyou have more than six defendants,
you may continue this section on another sheet of paper if you indicate belaw that you have done so.

1. Jane Doe Norske. 4. M. Brose

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2. STATEMENT OF JURISDICTION

This is a civil action seeking relief and/or damages to defend and protect the rights guaranteed by the Constitution of the

United States. This action is brought pursuant to 42 U.S.C. § 1983. The Court has jurisdiction over the action pursuant to
28 U.S.C. §§ 1331, 1343(3) and (4), and 2201.

3. PARTIES TO THIS ACTION
PLAINTIFF’S INFORMATION NOTE: 1o list additional plaintiffs, use this format on another sheet of paper.

Name and Prisoner Number of Plaintiff: Sh AQ, it Ratte iIS®2O77 Gara

Present Place of Confinement & Address: Ocigans Cocfecional Fac uty 835sl
Ceing Basin 2D, AlBion Py M4 - 9199

Name and Prisoner Number of Plaintiff: /
Present Place of Confinement & Address: /

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DEFENDANT’S INFORMATION NOTE: 7o provide information about more defendants than there is room for here, use this

format on another sheet of paper.

Name of Defendant: Jan e Doe

(If applicable) Official Position of Defendant:_ Nurse.

(If applicable) Defendant is Sued in __W_Individual and/or ee Official Capacity

Address of Defendant. QCleans Cocfectional Facu ity 2sai CGeines
Resin 2D, AiGins, Nedyork (4411-91949 Wore pirce

Name of Defendant: J. ‘3 COOKS

(If applicable) Official Position of Defendant: Eorrectipnal o efice c

(If applicable) Defendant is Sued in wv: Individual and/or __ &_ Official Capacity

Address of Defendant: OClazas Conrectionak Facitihy 3s3i- Gaines Basin
RDP, AlBion ’ lewd York Gti — F199 Work Place

Name of Defendant: 2 Insani a

(If applicable) Official Position of Defendant:_ Correctional officer
(If applicable) Defendant is Sued in “Individual and/or__ Official Capacity

Address of Defendant: Qcléeang Correctioncl Faciuity 253/ Gaines Basins

RDe Albion, Ne@ddork 1111-299 _Woct Place

4. PREVIOUS LAWSUITS IN STATE AND FEDERAL COURT

A. Have you begun any other lawsuits in state or federal court dealing with the same facts involved in this action?
Yes No

If Yes, complete the next section. NOTE: Ifyou have brought more than one lawsuit dealing with the same facts as this
action, use this format to describe the other action(s) on another sheet of paper.

1. Name(s) of the parties to this other lawsuit:
Plaintiff(s):
Defendant(s):
2. Court (if federal court, name the district; if state court, name the county):
3. Docket or Index Number:
4. Name of Judge to whom case was assigned:

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5. The approximate date the action was filed:

6. What was the disposition of the case?
Is it still pending? Yes No

If not, give the approximate date it was resolved.

Disposition (check the statements which apply):
Dismissed (check the box which indicates why it was dismissed):

By court sua sponte as frivolous, malicious or for failing to state a claim
upon which relief can be granted;

By court for failure to exhaust administrative remedies;

By court for failure to prosecute, pay filing fee or otherwise respond to a court
order;

By court due to your voluntary withdrawal of claim;

Judgment upon motion or after trial entered for
plaintiff

defendant.

B. Have you begun any other lawsuits in federal court which relate to your imprisonment?
Yes oA No QAorr Y Fer Error

If Yes, complete the next section. NOTE: Jfyou have brought more than one other lawsuit dealing with your imprisonment,
use this same format to describe the other action(s) on another sheet of paper.

1, Name(s) of the parties to this other lawsuit:
Plaintiff(s):
Defendant(s):

2. District Court:

3. Docket Number:

4. Name of District or Magistrate Judge to whom case was assigned:
5. The approximate date the action was filed:
6. What was the disposition of the case?

Is it stil] pending? Yes No

If not, give the approximate date it was resolved.

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A. FIRST CLAIM: On (date of the incident) 4 ~ Lf - ZY Monedas/ >
defendant (give the name and position held of each defendant involved in this incident) OFFicec Th Tresck, C20
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Exhaustion of Your Administrative Remedies for this Claim: :
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Attach copies of any documents that indicate that you have exhausted this claim.
If you did not exhaust your administrative remedies, state why you did not do so: _“7__ Aro Unable 12%7 A
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A. SECOND CLAIM: On (date of the incident) a ~ q -24 SatorDAy

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defendant (give the name and position held of each defendant involved in this incident) Jane. 7 Breecs /
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The relief 1 am seeking for this claim is (briefly state the relief sought): Cor fpensatory Damages
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Exhaustion of Your Administrative Remedies for this Claim:

Did you grieve or appeal this claim? SO Yes No If yes, what was the result? Th Com placatT
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Attach copies of any documents that indicate that you have exhausted this claim.
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If you have additional claims, use the above format and set them out on additional sheets of paper.

6. RELIEF SOUGHT
Summarize the relief requested by you in each statement of claim above.
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Do you want a jury trial? Yes f No
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FORM 2187RRU (06/22) NEW YORK STATE DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION

\ Woe « Orleans Correctional Facility
OM

DEPRIVATION ORDER RRU

INCARCERATED INDIVIDUAL'S NAME: Porte S$ pin: _1SB 917 __ cett Location: _RU-Cl-a3

In accordance with Directive #4933D, “Residential Rehabilitation Units,” on this date of 4) 4 la you are being deprived of the following

specific item(s), privilege{s) or service(s): State li Nnens , Stak py nperty

because it is determined that a threat to the safety or securjty of staff, incarcerated individuals, or State property exists and for the following
specific reason(s): onda erh,
'

Recommended by: f. fot , Sergeant Authorized By: al gueA, , Date: Ya /a4

(DSS\.OD, or Other Authorized Staff)

Daily |Date|Cell #

Review Reason(s) for continuing this order (based on current evaluation):

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*After seven (7) days, deprivation orders will be reviewoa and ca and can be renewed by the Superintendent.*
SUPERINTENDENT’S REVIEW: BafpKlee
COMMENTS: __

RENEW: O YES ONO SIGNATURE: DATE:

NOTICE TO INCARCERATED INDIVIDUAL:
You may write to the Deputy Superintendent for Security or their designee to
make a statement on the need for continuing this deprivation order.

Notes: Upon signature (authorization) copy and deliver to the incarcerated individual.

cc: Superintendent, RRU Sergeant Housing Unit, Guidance Unit, Incarcerated individual }

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Case 6:24-cv-06191-FPG., Document1 Filed 03/29/24 Page 14 of 20
PHOTOCOPY LOCALLY AS NEEDED

EtUibit 2.
FORM 2190 (08/22)

NEW YORK STATE DEPARTMENT OF CORRECTIONS ANDCOMMUNITY SUPERVISION
SPECIAL MANAGEMENT MEAL ORDER

tnitial Start Date: Name: DIN:
‘(03/04/24 Battle 15B2077
Start Meal: Orleans __Correctional Facility Cell Location:
Dinner RU-C1-23B8

In accordance with Directive #4933, “Special Housing Units,” | am recommending thal you be placed on the Special Management
Meal because | have determined that a threat to the safety or security of staff, incarcerated individuals, or State property exists for
the following specific reason(s):

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Recommended by: (Prin), Sgt. D. Conti (Signature) SEL : ) __ (Date) 93/04/24

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Superintendent's Decision:
REVIEWED BY:

Title Date. 7
INCARCERATED INDIVIDUAL: You may write to the Deputy Superintendent for Security or their designee to

vere:

make a statement as to the need for continued imposition of this Special Management Meal Order.

TO: MEDICAL DIRECTOR:
The above-named incarcerated individual is being considered for a Special Management Meal. Please examine the incarcerated
individual's ambulatory health record to determine if such meal would jeopardize the incarcerated individual's health.

Medical Recommendation: Gd This incarcerated individual is medically approved for the Special Management Meal.
This incarcerated individual's medical condition renders the Special Management Meal

inappropriate.
REVIEWED BY: '
DWIGH? LEWIS ap KRW else MD 9 32-94702y
Print Name Signature Title Date

TO: AREA SUPERVISOR/WATCH COMMANDER/DEPUTY SUPT. SECURITY: The above-named incarcerated individual has been placed ona
Special Management Meal Order, They are to be evaluated daily for the need to continue this order. Fill out this portion of the form daily.
DATE Reason(s) for continuing this order (based on current evaluation):

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a t
Distribution: Commissioner's Office, Superintendent's: Office, DSS, SHU/RRU Sgt., Medical file, Guidance file, Incarcerated Individual

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Case §:24- more ic PG Document1 Filed 03/29/24, Page 15 of 20
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STATE | Community Supervision

KATHY HOCHUL DANIEL F. MARTUSCELLO III

Governor Acting Comr'issioner

Ts S. Battle 15B2077 RU-C1-23T

From: K. Walker, First Deputy Superintendent

Date: 3/21/24

Re: Discretionary Review/Tier 3 Appeal

| am in receipt of your memo requesting a Discretionary Review for your Tier 3 incident 3/9/24.
Please complete a Tier 3 Appeal form and submit to the Director of Special Housing and 1/|
Discipline in Central Office, as indicated on the bottom of the form.

KW:dr
cc: File

Orleans Correctional Facility, 3531 Gaines Basin Roac, Albion, NY 14411-9199 | (585) 589-6820 | www.doccs.ny.gov
Case 6:24-cv-06191-FPG Documenti- Filed 03/29/24 Page 17 of 20

I declare under penalty of perjury that the foregoing is true and correct.

Executed on S “27-24 ( Wed )
‘ (date)
NOTE: Each plaintiff must sign this complaint and must also sign all subsequent papers filed with the Court.

SG @o77

Signature(s) of Plaintiff(s)
Case 6:24-cv-06191-FP¢ Poet e Filed 03/29/24 Page 18 of 20
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Yoru Honor COmMmmMmonication S-Z27-2y

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JS44 (Rev. 08/18)

Case 6:24-cv-06 191 -F EG Poe Nea SHEET. Wt /9 e fog

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS DEFENDANTS

SHAQ Bate Pleaye gee StPerate Sheer(|)

(b) County of Residence of First Listed Plaintiff County of Residence of First Listed Defendant
(EXCEPT IN U.S. PLAINTIFF CASES) (IN US. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

NOTE:

(c) Attomeys (Firm Name, Address, and Telephone Number) Attorneys (if Known)

Pro se Gr leans

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Il. BASIS OF JURISDICTION (Ptace an “x” in One Box Only) I. CITIZENSHIP OF PRINCIPAL PARTIES (Ptace an “x” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)

G1. US. Government Federal Question PTF DEF PTF DEF

Plaintiff (U.S. Government Not a Party) Citizen of This State I wy 1 Incorporated or Principal Place go4 044

of Business In This State

32 US. Government 0 4 Diversity Citizen of Another State O 2  O 2 Incorporated and Principal Place go5 05

Defendant (Indicate Citizenship of Parties in trem HU of Business [n Another State

Citizen or Subject of a O03 O 3 Foreign Nation o6 o6
Foreign Country

IV. NATURE OF SUIT (Place an “X” in One Box Only Click here for: Nature of Suit Code Descriptions.
Ter TL FORFEITURE/PENALIY. |. BANKRUPICY |. OTHERSTATUTES _]

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3 120 Marine 0 310 Airplane © 365 Personal Injury - of Property 21 USC 881 |O 423 Withdrawal O 376 Qui Tam (31 USC
130 Miller Act 0 315 Airplane Product Product Liability O 690 Other 28 USC 157 3729(a))
C1 140 Negotiable Instrument Liability © 367 Health Care/ ©) 400 State Reapportionment
GO 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical : O 410 Antitrust
& Enforcement of Judgment Slander Personal Injury G 820 Copyrights O 430 Banks and Banking
(7 151 Medicare Act O 330 Federal Employers’ Product Liability 0 830 Patent 450 Commerce
O 152 Recovery of Defaulted Liability O 368 Asbestos Personal © 835 Patent - Abbreviated 0 460 Deportation
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(Excludes Veterans) O 345 Marine Product Liability 0 840 Trademark Cornupt Organizations
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of Veteran’s Benefits O 350 Motor Vehicle O 370 Other Fraud O 710 Fair Labor Standards © 861 HIA (1395ff) 0 485 Telephone Consumer
OD 160 Stockholders’ Suits OG 355 Motor Vehicle © 371 Truth in Lending Act G 862 Black Lung (923) Protection Act
O 190 Other Contract Product Liability © 380 Other Personal GO 720 Labor/Management 0 863 DIWC/DIWW (405(g)) {0 490 Cable/Sat TV
O 195 Contract Product Liability | 360 Other Personal Property Damage Relations DO 864 SSID Title XVI CO 850 Securities/Commodities/
O 196 Franchise Injury © 385 Property Damage G 740 Railway Labor Act O 865 RSI (405{g)) Exchange

6 362 Personal Injury -
Medical Malpractice

Te -REAL PROPERTY.
G 210 Land Condemnation
O 220 Foreclosure

O 230 Rent Lease & Ejectment
0 240 Torts to Land

CO 245 Tort Product Liability
G 290 All Other Real Property

= CIVIL: RIGHTS.

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0 441 Voting

G 442 Employment

6 #443 Housing/
Accommodations

6 445 Amer. w/Disabilities -
Employment

O 446 Amer. w/Disabilities -
Other

O 448 Education

40 Other Civil Rights

Product Liability

Habeas Corpus:
0 463 Alien Detainee
0 510 Motions to Vacate
Sentence
0 530 General
6 535 Death Penalty
Other:
© 540 Mandamus & Other
O 550 Civil Rights
555 Prison Condition
O 560 Civil Detainee -
Conditions of
Confinement

0 751 Family and Medical
Leave Act

O 790 Other Labor Litigation

© 791 Employee Retirement
Income Security Act

2 IMMIGRATION

©) 462 Naturalization Application
O 465 Other Immigration
Actions

___ FEDERAL TAX SUITS |.

O 870 Taxes (U.S. Plaintiff
or Defendant)

© 871 IRS—Third Party
26 USC 7609

© 890 Other Statutory Actions

O 891 Agricultural Acts

O 893 Environmental Matters

0 895 Freedom of Information
Act

0 896 Arbitration

O 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

0 950 Constitutionality of
State Statutes

V. ORIGIN (Place an “X” in One Box Only)

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(specify) Transfer Direct File
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VI. CAUSE OF ACTION tA OSes 1153
. Brief description of cause: KSSO|

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VII. REQUESTED IN O CHECK IF THIS IS A CLASS ACTION DEMAND $ . at CHECK YES only if demanged in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. 2 Ihicuion @ JURY DEMAND: Yes No
VHI. RELATED CASE(G)
IF ANY ee msinuctons)” ange DOCKET NUMBER
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FOR OFFICE USE ONLY
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_ ORLEANS CORRECTIONAL FACILITY oa
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